            Case 1:18-cr-00056-DAD-SKO Document 56 Filed 04/26/19 Page 1 of 2


 1   DAVID A. TORRES AND ASSOCIATES
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     PARAMJIT MANGAT
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                       ) Case No.: 18-CR-00056 LJO-SKO
10   UNITED STATES OF AMERICA,                         )
                                                       )
11                   Plaintiff,                        ) AMENDED REQUEST AND WAIVER OF
                                                       ) APPEARANCE
12           vs.                                       )
                                                       )
13   PARAMJIT MANGAT,                                  )
                                                       )
14                   Defendant                         )
15           Defendant, PARAMJIT MANGAT, hereby waives his appearance in person in open
16   court upon the status conference set for Monday, April 29, 2019 in Courtroom 8 of the above
17   entitled court. Defendant hereby requests the court to proceed in his absence and agrees that his
18   interest will be deemed represented at said hearing by the presence of his/her attorney, DAVID
19   A. TORRES. Defendant further agrees to be present in person in court at all future hearing dates
20   set by the court including the dates for jury trial.
21

22   Date: April 25, 2019                                        /s/Paramjit Mangat ___
23
                                                                 PARAMJIT MANGAT

24

25
     Date: April 25, 2019                                        /s/David A. Torres___ ___
                                                                 DAVID A. TORRES,
                                                                 Attorney for Defendant



                              DEFENDANTS REQUEST AND WAIVER OF APPEARANCE   - 1
              Case 1:18-cr-00056-DAD-SKO Document 56 Filed 04/26/19 Page 2 of 2


 1                                               ORDER

 2            Good cause appearing.

 3            IT IS HEREBY ORDERED that defendant PARAMJIT MANGAT is excused from

 4   appearing at this court hearing scheduled for April 29, 2019.

 5
     IT IS SO ORDERED.
 6

 7   Dated:     April 25, 2019                                   /s/   Sheila K. Oberto   .
                                                       UNITED STATES MAGISTRATE JUDGE
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                            DEFENDANTS REQUEST AND WAIVER OF APPEARANCE     - 2
